Case 1:22-cv-22538-RKA Document 124 Entered on FLSD Docket 05/15/2023 Page 1 of 29

IN THE UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA
MIAMI DIVISION

Case No: 1:22-ev-22538 (Altman/Reid)

 

PIERCE ROBERTSON, RACHEL GOLD,
SANFORD GOLD, RAHIL SAYED,
CHRISTOPHER EHRENTRAUT, TODD
MANGANIELLO, DAN NEWSOM, WILLIAM
AYER, ANTHONY DORN, DAMECO GATES,
MARSHALL PETERS, and EDWIN GARRISON,
on behalf of themselves and all others similarly
situated,

Plaintiffs,
Vv.
MARK CUBAN, et al.

Defendants.

 

 

DEFENDANTS MARK CUBAN’S AND DALLAS BASKETBALL LIMITED’S
MOTION FOR SANCTIONS UNDER 28 U.S.C. § 1927 AND MEMORANDUM OF LAW
IN SUPPORT THEREOF
Case 1:22-cv-22538-RKA Document 124 Entered on FLSD Docket 05/15/2023 Page 2 of 29

TABLE OF CONTENTS
FACTUAL BACKGROUND 00.0 cccccessseeeesneceeseeenneseeeseseeeeeneeeeeeenneueeeseeeeeaeeeeenneaeesee 3
A. Plaintiffs’ and the Florida Plaintiffs’ Allegations.............0......:cccscccsssecsnseestereene oO
B. Mr, Robertson and Ms, Gold Reaflirmed their False Allegations in Sworn
Declarations Supporting Plaintiffs’ Class Certification Motion. ..............:ceseeeees 4
Cc. Defendants’ Investigation and Discovery Has Confirmed that the Florida
Plaintiffs Made Material Misstatements in Court Filings and that their Claims
Lack a Reasonable Factual and Legal Basis. 0.0.0.0... ccccccsccccssseeessseeeesseeeesseeeeseeeeens 3

1. Mr. Cuban and the Mavericks Never Made Any Public Statements About
Voyager Prior to October 27, 2021... eeeeteeeeeeeeeteteeeneneeeee

2. Non-Party Voyager Produced Plaintiffs’ Trade History, Which Further
Refuted the Florida Plaintiffs’ Claims. ............c:cesccsseesseenseenseesseerse oD

3. Ms. Gold and Mr. Robertson’s Deposition Testimony Further Confirmed
Fatal Flaws in their Claims. .......0...00.ccccceeceeeseeeesseeeeseeeeeesseeessereeseeeeeseeersns 7

D. Defendants’ Counsel Repeatedly Informed Plaintiffs’ Counsel of Their Clients’
Misstatement. .......000cccccccccccescsecsssecessseceeseceessseeessseceeseeeessseesseenseeiesteesecsseceee O

E, The Proposed Second Amended Complaint Withdraws Mr. Robertson's Claims
and Amends Ms. Gold’s Claims, Adding More False Statements. ...................... 11

LEGAL STANDARD o.oo cctecccsseeeesssesssssesseseesseseessnseeesnseeessecesnseeesnseeeonseeesnseeessoueres 12

I. The Florida Plaintiffs’ Claims Are Objectively Frivolous and Plaintiffs’ Counsel Made
Repeated Misrepresentations to the Court in Support of those Claims. ..........0.00.:006 13

A. Plaintiffs’ Counsel Submitted Numerous False Statements to the Court in Support
of Ms. Gold’s Objectively Frivolous Claims. ..0....00.0c cc eeeeeeeeeeteeeeeteeeeneeees 13

l. Plaintiff Rachel Gold falsely represented that she was a Voyager account
OIE, 0.0... csecsrseceresneeesnseesersrcersscerseeerenarcorseeersevareisressersareareseersees LO

2. Ms. Gold falsely stated that she relied on Mr. Cuban in opening her
husband's ACCOUNL. .0.....cc cece eceeeeseeeesseeeeseceeseseeeessecesseeeesesseessseresseeeeeeeeers 13

Ms. Gold made numerous misstatements in the PSAC. ......000. 14

4. Ms. Gold’s claims are objectively frivolous, as only purchasers may bring
unregistered SECUIIties CLAIMS, ...........cccccesseesnseeesnseeesnseeesnseeesnseeesnaeeesnseers 15
B. Plaintiffs’ Counsel Submitted Numerous False Statements in Support of Mr.
Robertson’s Frivolous Claims.........c.cccccccceccceeeeceeeeneeeeeeaceeeeseeeesseeeseeeesneeeeeenees 17
1, Mr. Robertson’s false allegations .............0:ccccccceeseeesneeeesnseresneeeesneeresneeeee LF
2. Mr. Robertson's pre-Sponsorship Agreement transactions cannot possibly
support claims against Defendant. .......0....0. ccc cesccecsnseeesneeesnseeesnaeeesnsaers 18

DEFENDANTS’ MOTION FOR SANCTIONS UNDER 28 U.S.C. § 1927
PAGE i
Case 1:22-cv-22538-RKA Document 124 Entered on FLSD Docket 05/15/2023 Page 3 of 29

I. Plaintiffs’ Counsel Recklessly and in Bad Faith Multiplied the Proceedings. ..................18
A. Plaintiffs’ Counsel Continued to Pursue Frivolous Claims After Defendants
Repeatedly Alerted Plaintiffs’ Counsel of the Claims’ Factual and Legal
De PICIENCIES........ccccccecensecesseeessnseesssereesseensecerseereesseeansscarsevareessvensecarserersensseanseeees 18
B. Defendants Are Entitled to an Award of Attorneys’ Fees and Costs. .................. 20
CONCLUSION ooo... ccc ccccccescesssscsnsecessnsccessnacesuscessnacsassassnaseassnaceesseassaseasseaeesssesessserseseeersnaseess 20

DEFENDANTS’ MOTION FOR SANCTIONS UNDER 28 U.S.C. § 1927
PAGE ii
Case 1:22-cv-22538-RKA Document 124 Entered on FLSD Docket 05/15/2023 Page 4 of 29

 

TABLE OF AUTHORITIES
Page(s)

Cases
Amlong & Amlong, P_A. v. Denny's, Inc.,

500 F.3d 1230 (11th Cir, 2007) oo ccccccceccceee esau eeeeeueeeesueeessuueeasueeeseueeessueeeasuaeeaeneeeea 12
Applebaum v. Fabian,

2020 WL 6375706 (DNL. Oct. 30, FOB) cc ccc eeeeeeeueeeeeuaeeeeuseeseuseeesueeessueeeeeueeeea 16
Asset Prot. Plans, Inc. v. Oppenheimer & Co.,

2011 WL 2533839 (M.D. Fla. June 27, BOD Docc cccceseeeeeeeueeeeeueeeeeueeeesueeeasueeeeeneeeea 16
Blue Chip Stamps v. Manor Drug Stores,

APT US. T23 (LOTS) occ cccccccccccesescesseeeesseeeeceeeceesseceecseeeecseeeaeseceeaseeeacseeeaeseceaeseeeeeseeeeeseeeeeueeess 16
Buehler v. LTI Int'l, Inc.,

762 So. 2d 530 (Fla. Dist. Ct. App. 2000) oo... ec cceceeesnseeesnseeesnseeesnaeeesaeeesnaeessnaeeesneaeres 16
Carter v. Ford Motor Co.,

2021 WL 1165248 (S.D. Fla. Mar. 26, 2021) ccc ccc ccccesseeeeeueeeeuueeeeuseeeeuseeeeuseeeeuaneeeaee l
Celsius Holdings, Inc. v. A SHOC Beverage, LLC,

2022 WL 3568042 (S.D. Fla. July 19, 2022) ooo cesceeesseeesnseeesnseeesnseeesaeessnaeessnaeessseeres 20
Davidson v. Belcor, Ine.,

933 F.2d GOS (7th Cir, DOOD) cece ccceeceeeeuaeeeeueeeeeueeeeeueeeseueeeesueeeasuueessuueeaauaeeaeneeeea 16
Goodman v. Tatton Enters., Inc.,

2012 WL 12540024 (S5.D. Fla. June 1, 2012) ccc cccceseeeeeeeuaeeeeueeeeeueeeesueeeseueeeeeneeeea 12
Maale v. Kirchgessner,

2011 WL 1458258 (S.D. Fla. Mar. 3, 201 DV)... cc ccecccceeeeeeeeueeeeeueeeeeueeeesuueeasueeeeeueeees 12
Macort v. Prem, Inc.,

208 F. App’x 781 (11th Cir, 2006) ooo cecceeessseesnseeesnseessnseessnaeeesnseeesnaeessnseessnaeesssseeres 12
Peer v. Lewis,

606 F.3d 1306 (1) 1th Cir, ZOD) ccc cece ceeeeueeeeeueeeesueeeseuaeeasueeeseueeessueeeaauaeeeeueeeea 12
Reid v. Madison,

438 F. Supp. 332 (B.D. Val L977) ccc ccccccccssseesssseesssceesnsceesnseecsnseecssssecssssecssasecsesseeessseeesssersns 16
In re Voyager Digital Holdings, Inc.,

Case No.22-10943-mew (Bankr. S.D IN IY.) ooo ce ccc cccscccceseeeesseeeesseeeesseeeessereesseeeeseeeeeaee 3

DEFENDANTS’ MOTION FOR SANCTIONS UNDER 28 U.S.C. § 1927
PAGE iii
Case 1:22-cv-22538-RKA Document 124 Entered on FLSD Docket 05/15/2023 Page 5 of 29

Statutes

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2B US... 8 ODT cc cccccseseeessseeeeseeeceeceeesnsneeesseeseeseeessnsceeseeenuaaeeesuueeesereeaeeresneaeeeaeeeeeaeer® passim
Fla. Stat. § 48.193 ...ccccccceccsseccesssecssessusssecsosssvessussusssessussssesssssusssecsasssuessuesasssuessussuessueseusssecsassaveeve 4,17

Fla. Stat. § SU 7.20) oo. ccccccceccccececcsessceseecccsnecsesuaecessesessssesssceessscsessesseesessessesstesessteseesteststesereseeees LO
Fla. Stat. §§ 709.2102, 709.2103, 709.2105(2), TO9.2106(1) ou... cccccecsecstecstseestesteestsrestsseeeseseee |
Other Authorities

Fed. RB. Civ. Po 11 cc ecceessceesnseeesnseeesnaceesnaeessnaeeesssseesnseeesnseeesnseeesnaeeesnseeesnaeeesnaeeesnaeessnasessnsees passim

DEFENDANTS’ MOTION FOR SANCTIONS UNDER 28 U.S.C. § 1927
PAGE iv
Case 1:22-cv-22538-RKA Document 124 Entered on FLSD Docket 05/15/2023 Page 6 of 29

Defendants Mark Cuban and Dallas Basketball Limited d/b/a Dallas Mavericks (the
“Defendants”) submit this Motion and Memorandum of Law for Sanctions under 28 U.S.C. § 1927
(“Section 1927”) (the “Section 1927 Motion”) against Plaintiffs’ counsel, Adam Moskowitz, Esq.
and the Moskowitz Law Firm, PLLC (“Plaintiffs’ Counsel”).' While, in partial response to at least
eleven prior Rule 11 warnings, Plaintiffs’ Counsel now belatedly seeks to drop Pierce Robertson
(but not Rachel Gold) as a named plaintiff, the vexatious and dilatory conduct by Plaintiffs’
Counsel with respect to Plaintiffs Rachel Gold and Mr. Robertson nonetheless warrants imposition
of Section 1927 sanctions.

Two allegedly Florida-based Plaintiffs in this action—Ms. Gold and Mr. Robertson (the
“Florida Plaintiffs”)—made patently false assertions in the Complaint and other filings to the Court
and never had viable claims. Defendants were forced to incur significant fees and expenses to
debunk these false claims. Even pre-suit, Plaintiffs’ Counsel knew or should have known that the
Florida Plaintiffs’ claims were without any basis. And Ms. Gold and Mr. Robertson’s frivolous
claims are particularly outrageous because without them, none of the other named Plaintiffs had
any connection to Florida, as the remaining named Plaintiffs all are non-Florida residents with
purported claims under non-Florida state law, thereby precluding filing this case in this District.*

While the entire Amended Complaint otherwise lacks any merit and should be dismissed
for the reasons in Defendants’ previously filed Motion to Dismiss (ECF No. 41) (Plaintiffs’
proposed Second Amended Complaint (ECF 121-1, the “PSAC”) fares no better), the Florida

 

' Defendants also reserve the right to separately seek Rule 11 sanctions against Plaintiff Rachel
Gold, plaintiffs other than Pierce Robertson, and their counsel.

* While Plaintiffs’ proposed Second Amended Complaint attempts to add three new Florida
plaintiffs, those proposed plaintiffs were not named in the Complaint or Amended Complaint, and
the Court has not yet granted Plaintiffs leave to amend. The sole other Florida plaintiff in the
Amended Complaint, Sanford Gold (Rachel Gold’s father), a three-time convicted federal felon
with a history of major financial fraud, is not the subject of the Sanctions Motion, as he was
dropped as a plaintiff in early January 2023 before his scheduled deposition, based on claimed
health issues. ECF No. 88. As demonstrated in Defendants’ Motion to Dismiss, in the absence of
any named Florida plaintiff with cognizable claims for which the Court has jurisdiction, the Court
is required to dismiss the non-Florida plaintiffs’ claims for lack of personal jurisdiction as this
Court does not recognize pendent party jurisdiction. See Carter v. Ford Motor Co., 2021 WL
1165248, at *6(S.D. Fla. Mar. 26, 2021) (no long-arm jurisdiction where “Plaintiffs all live outside
of Florida” and plaintiffs’ conduct occurred outside of Florida); ECF No. 41 at 7-8. Defendants
also assert, and continue to assert, inter alia, the various other grounds in the Motion to Dismiss
as to why the Court otherwise lacks personal jurisdiction over Defendants and why the claims are
dismissible for several other reasons, See id. §§ I-IIL.

DEFENDANTS’ MOTION FOR SANCTIONS UNDER 28 U.S.C. § 1927
PAGE 1
Case 1:22-cv-22538-RKA Document 124 Entered on FLSD Docket 05/15/2023 Page 7 of 29

Plaintiffs’ alleged claims are particularly noteworthy because they were pursued in flagrant
violation of Section 1927. Regarding Ms. Gold, she never had an account with Voyager Digital,
Ltd. and therefore lacks any standing to sue, something Defendants had to pry out of Ms. Gold at
her deposition. See Ex. 1, Rachel Gold Dep., Ex. 5A. Additionally, shortly after she was deposed
in late January 2023, it appears that Ms. Gold sold her home in a. Florida, and no
longer resides in the State (see n.13, infra), though her counsel still falsely claims, in his PSAC,
25405 66

For his part, Mr. Robertson opened a Voyager account five months prior to the October
27,2021 press conference announcing the Voyager-Mavericks Sponsorship Agreement (the “Press
Conference”), the first time Defendants publicly spoke about Voyager. Discovery confirmed, inter
alia, that Mr. Robertson executed approximately a trades before October 27, 2021, making
impossible the notion that Mr. Robertson somehow “relied” on Defendants in opening his Voyager
account or executing any of such a trades. Moreover, Mr. Robertson admitted at his deposition
that all trading decisions were his own, he had no dispute with the interest payments paid to him
by Voyager, nd eI
a. The uncontradicted evidence is that he was paid approximately a in interest
from Voyager’s Earn Program Account (“EPA”).

Plaintiffs’ Counsel had ample time to correct these deficiencies, and, since filing the
Amended Complaint on October 28, 2022, has been repeatedly put on notice that Plaintiffs’ claims
were legally frivolous and that Defendants intended to seek sanctions.’ Plaintiffs’ Counsel
nonetheless charged forward, falsely claiming that the Florida Plaintiffs had standing to sue and
refusing to own up to the falsity of the Florida Plaintiffs’ allegations, causing Defendants to incur
substantial, otherwise avoidable legal expenses. While Plaintiffs’ Counsel has finally recognized
the meritless nature of Mr. Robertson's claims and attempts to drop him as a plaintiff in the PSAC
(see ECF No. 121-1), counsel continues to pursue Ms. Gold’s frivolous claims, In any event, for
Mr. Robertson's claim, Plaintiffs’ Counsel’s reversal comes far too late, as Defendants were forced
to spend months and significant costs investigating and defending against his fabricated claims.

Defendants request all costs and legal expenses associated with defense of the Florida

Plaintiffs’ claims incurred since it was clear that Plaintiffs’ Counsel’s assertion and pursuit of the

 

* As discussed below, Defendants have notified Plaintiffs and Plaintiffs’ counsel at least eleven
times of the Rule 11 deficiencies set forth herein.

DEFENDANTS’ MOTION FOR SANCTIONS UNDER 28 U.S.C, § 1927
PAGE 2
Case 1:22-cv-22538-RKA Document 124 Entered on FLSD Docket 05/15/2023 Page 8 of 29

Florida Plaintiffs’ claims was “objectively reckless’—beginning on August 10, 2022, when the
original Complaint was filed, as the Complaint included fabricated statements that easily could
have been confirmed, pre-filing, as false by Plaintiffs’ Counsel. Because Plaintiffs’ Counsel
continued to pursue those baseless claims, even though given at least eleven Rule 11
warnings, Defendants were forced to conduct that costly investigation themselves, fly to
Florida to depose Ms. Gold and to Illinois to depose Mr. Robertson, at which both Florida
Plaintiffs’ own fraud was finally exposed. For the reasons set forth below, this Court should
impose sanctions on the Florida Plaintiffs’ Counsel.
FACTUAL BACKGROUND

A. Plaintiffs’ and the Florida Plaintiffs’ Allegations

On December 24, 2021, Voyager customer Mark Cassidy, represented by Plaintiffs”
Counsel, filed a putative class action against Voyager. Cassidy v. Voyager Digital Ltd., No. 21-
cv-2444] (the “Cassidy Action”), ECF No. | (Dec. 24, 2021). Mr. Cassidy filed an amended
complaint on April 28, 2022, adding claims based on the alleged sale of unregistered securities.
Cassidy Action, ECF No. 46, On July 8, 2022, the Cassidy Action was stayed as a result of
Voyager's bankruptcy filing. Cassidy Action, ECF No. 70.

On August 10, 2022, Plaintiffs asserted claims under various states’ securities and
consumer protection laws against Voyager CEO Stephen Ehrlich, but also against Mr. Cuban, and
the Mavericks, copying and pasting large portions of their counsel’s Cassidy Action complaints.
ECF No. |. When Voyager sought to stay this action as well, Plaintiffs’ Counsel cut a deal with
the Creditors Committee and Voyager debtors, dropping all aiding and abetting claims, and
dropping Mr. Ehrlich as a defendant. See /n re Voyager Digital Holdings, Inc., Case No.22-10943-
mew (Bankr. 58.D.N.¥.) [ECF Nos. 18, 23]. Plaintiffs’ nineteen-count Amended Complaint asserts
meritless claims under various states’ securities and consumer protection laws (ECF No. 34
| 115-32), which were the subject of Defendants’ Motion to Dismiss (ECF No. 41). Plaintiffs’
claims are purportedly based on the Mavericks’ Sponsorship Agreement with Voyager, announced
during a Press Conference on October 27, 2021 in Dallas. See ECF No. 34 "| 46-57. While there
is no personal jurisdiction over Defendants, Plaintiffs also fail to allege any of the elements

necessary to hold Defendants liable for Voyager's alleged sale of unregistered securities in the

DEFENDANTS’ MOTION FOR SANCTIONS UNDER 28 U.S.C. § 1927
PAGE 3
Case 1:22-cv-22538-RKA Document 124 Entered on FLSD Docket 05/15/2023 Page 9 of 29

form of EPAs.* ECF No. 34 9 127, 131-32. Plaintiffs also allege (incorrectly) that Defendants’
conduct at the Press Conference amounts to a violation of Florida’s Deceptive and Unfair Trade
Practices Act (“FDUTPA”). Jed. 9 115-24.

Plaintiffs premise their claims on the incorrect assumption that the opening and funding of
the EPAs constituted purchases of unregistered securities from Voyager.” To support their claims,
the Florida Plaintiffs allege in the Amended Complaint, in boilerplate fashion, that they each:

purchased an unregistered security from Voyager in the form of an EPA and
funded the account with a sufficient amount of crypto assets to earn interest on
his [or her] holdings. Plaintiff [] did so after being exposed to some or all of
Cuban’s and Ehrlich’s misrepresentations and omissions regarding the Deceptive
Voyager Platform... , and executed trades on the Deceptive Voyager Platform in
reliance on those misrepresentations and omissions. .. .

Id. {| 7-8 (emphasis added). Plaintiffs made identical boilerplate allegations in the original
Complaint. ECF No. | %] 34-35. Mr. Robertson further falsely alleges:

So, | first heard about Voyager from Mark Cuban. The dogecoin hype was at its
peak and I was thinking about investing in crypto. This was back in the summer of
2021. | saw Mark promoting dogecoin and then Voyager and thought “he’s a
sound investor,” so I downloaded the app and began to play around with a very
small amount of money in June 2021... .

ECF No. 34 469 (emphasis added). Mr. Robertson made an identical false allegation in the
original Complaint. ECF No. 1 #115.

B. Mr. Robertson and Ms, Gold Reaffirmed their False Allegations in Sworn
Declarations Supporting Plaintiffs’ Class Certification Motion.

Mr. Robertson and Ms. Gold made similar false statements in Plaintiffs’ November 15,
2022 class certification motion (ECF No. 40), which was denied as premature (ECF No. 45). Mr.
Robertson and Ms. Gold each swore under penalty of perjury in filed Declarations:

I purchased from Voyager Digital a Voyager Earn Program Account. . . after
heing exposed to some or all of Cuban’s misrepresentations and omissions
regarding the Deceptive Voyager Platform as detailed in the complaint, and
thereafter funded the account with sufficient cryptocurrency assets to meet the

 

* The Section 1927 Motion does not require the Court to determine any issue presented in the prior
Motion to Dismiss (ECF No. 41). Rather, the Section 1927 Motion is based on fabricated or
otherwise false factual contentions advanced by Plaintiffs, and the legal implications of such
falsity, which Plaintiffs knew or should have known pre-suit.

* Defendants dispute that any opening or funding of the EPAs constitutes the purchase of a security,
but this issue need not be addressed for purposes of the Section 1927 Motion, as the Florida
Plaintiffs’ claims are frivolous without needing to reach the unregistered security issue.

DEFENDANTS’ MOTION FOR SANCTIONS UNDER 28 U.S.C. § 1927
PAGE 4
Case 1:22-cv-22538-RKA Document 124 Entered on FLSD Docket 05/15/2023 Page 10 of 29

minimum thresholds for earning the interest Voyager Digital offered ... .
ECF No. 40-1, Decl. of Pierce Robertson in Support of Plaintiffs’ Mot. to Certify Nationwide Issue
Class (“Robertson Decl.”) at 4 3 (emphasis added); ECF No. 40-2, Decl. of Rachel Gold in Support
of Plaintiffs’ Mot. to Certify Nationwide Issue Class (“R. Gold Decl.”) at {3 (emphasis added).

Cc. Defendants’ Investigation and Discovery Has Confirmed that the Florida
Plaintiffs Made Material Misstatements in Court Filings and that their Claims
Lack a Reasonable Factual and Legal Basis.

l. Mr. Cuban and the Mavericks Never Made Any Public Statements About
Voyager Prior to October 27, 2021.

After devoting significant amounts of time and resources to investigate Plaintiffs’
allegations, Defendants confirmed, as Plaintiffs’ Counsel knew or should have known when the
Complaint was filed, that neither Defendant ever made a public statement about Voyager prior to
the Press Conference. Though Mr. Robertson specifically alleged to have “first heard about
Voyager from Mark Cuban” in Summer 2021 (ECF No. 34 {| 69) and to have opened a Voyager
EPA “after being exposed” to Mr. Cuban’s statements (id. {4 7), discovery confirmed a

ee (Ex. 2, Feb. 14, 2023 Dep. of Ryan Mackey Tr.

(“Mackey Dep. Tr.) at 245:11-246:2). Indeed, the Mavericks were not even first approached by

 
 

Voyager about a potential sponsorship deal until on or about August 19, 2021, and sponsorship
negotiations commenced on September 8, 2021, making the notion that the Defendants were
publicly talking about a sponsorship deal with Voyager prior to such first contact facially and
objectively nonsensical. ECF No. 91, Decl. of Ryan Mackey 4 3; - it
a. Additionally, discovery confirmed that Mr. Cuban first funded his personal Voyager
account in September 2021, shortly after the Mavericks’ discussions with Voyager commenced.°

2. Non-Party Voyager Produced Plaintiffs’ Trade History, Which Further
Refuted the Florida Plaintiffs’ Claims.

On or about December 29, 2022, non-party Voyager produced, pursuant to subpoena,
account information and full trading history for the named Plaintiffs, after Plaintiffs stalled at
making such production. Defendants were stunned by account information and trading history,

which Plaintiffs’ Counsel should have analyzed prior to commencing this action. Voyager's

 

® Defendants understand that Mr. Cuban first opened a Voyager account in August 2021 after
Voyager first approached the Mavericks about a potential sponsorship agreement.

DEFENDANTS’ MOTION FOR SANCTIONS UNDER 28 U.S.C, § 1927
PAGE 5
Case 1:22-cv-22538-RKA Document 124 Entered on FLSD Docket 05/15/2023 Page 11 of 29

production confirmed, e.g., that Ms. Gold lied m claiming that she opened an account in her name.

Instead, the account Ms. Gold attempted to open ee
ee. ECF No. 92-2 (under seal), Decl. of Sigmund 8.

Wissner-Gross in Support of Defendants’ Mot. to Transfer (“Wissner-Gross Decl.”), Ex. B at Rob-
Voyager-00000006. On December 30, 2022, when confronted with this fact, Plaintiffs’ Counsel
admitted to Defendants that Ms. Gold did not open an account im her own name. ECF No. 82-7,
Dec. 30, 2022 Email from Adam Moskowitz at 8. Plaintiffs’ Counsel nevertheless subsequently
vexatiously insisted, without citing any legal authority, that Ms. Gold “clearly has standing under
Eleventh Circuit and Southern District of Florida case law,” forcing Defendants to incur further
significant expense in preparing for and taking Ms. Gold’s Florida deposition and in conducting
other discovery. ECF No. 82-4, Jan. 6, 2023 Hearing Tr. at 78:11-13.

Plaintiffs’ Voyager trade history further confirmed that Mr. Robertson—like eight other
named Plaintiffs’—opened, funded, and actively used his Voyager account well prior to the Press
Conference, and thus objectively could not have relied on any statement by Defendants about
Voyager in deciding to open his account. Mr. Robertson first opened his account in a
(ECF No. 92-3, Wissner-Gross Decl. Ex B. at Rob-Voyager-00000004) and funded his account in

a (Ex. 3 Rob-Voyager-00000016 (excerpted) at 1), a before the Press
Conference. Indeed, Mr. Robertson made deposits worth ee (id. at 1-3) and
engaged in approximately BB transactions before the Press Conference (id. at 4-6). Voyager paid

Mr. Robertson approximately Jia in interest based on the cryptocurrency he deposited into his

EPA, and Mr. Robertson Te See id at 1-3.

 

’ Though the Section 1927 Motion focuses on Plaintiffs’ Counsel’s pursuit of the Florida Plaintiffs’
claims, Defendants reserve the night to move for sanctions in connection with the claims of the
other eight Plaintiffs—Marshall Peters, Rahil Sayed, Anthony Dorn, William Ayer, Dameco
Gates, Dan Newsom, Todd Manganiello, and Christopher Ehrentraut—who each also assert
frivolous claims based on Voyager transactions that took place prior to October 27, 2021. For
example, documentary evidence confirmed that Mr. Gates opened his account about five months
prior to the Press Conference and never made any deposits into his Voyager account after the
Press Conference. Though Defendants sought to take the depositions of all named Plaintiffs, the
Court directed Defendants to first take the depositions of the named Flonda Plaintiffs, Pierce
Robertson, Rachel Gold, and former Plaintiff Sanford Gold. See ECF No. 77 (setting dates for
depositions of the Florida-based Plaintiffs).

DEFENDANTS’ MOTION FOR SANCTIONS UNDER 28 U.5.C. § 1927
PAGE 6
Case 1:22-cv-22538-RKA Document 124 Entered on FLSD Docket 05/15/2023 Page 12 of 29

3. Ms, Gold and Mr, Robertson's Deposition Testimony Further Confirmed
Fatal Flaws in their Claims.

At her January 2023 deposition, Ms. Gold Pe
Ex. 4, Rachel Gold Dep. Tr. (excerpted) (“R. Gold Dep. Tr.”) at 67:3-5 (i ___
ee.) Ms. Gold admitted that she wrote in a text message that she
90:2
91:13; Ex. 1, R. Gold Dep., Ex. 5A. Ms. Gold never ama

a Id. at 73:15-74:6; see ECF No, 92-2, Wissner-Gross Decl. Ex. B at Rob-Voyager-

QOOO00006. Further, Ms. Gold’s Facebook messenger chats illustrated, and her deposition

6 Gold. Dep. Tr. at 80:8-12,
156:2-4; see also Gold Ex. 5 (Gold to Keuning: “Your [sic] the one who told me about voyager.”).
Ms. Gold also discussed [IS 101, 21 166:16-21.
Similarly, Mr. Robertson confirmed at his deposition ee
ee. Ex. 5, Pierce Robertson Dep. Tr.
(excerpted) (“Robertson Dep. Tr.”’) at 42:19-25. Mr. Robertson testified TT
ee. fd, at 125:23-126:3. Though Defendants’ counsel

informed Mr. Robertson that there was no evidence that Mr. Cuban made any public statements

 
 
 
 
 
 
 
 
 

 

 
 

 

 

about Voyager before the Press Conference—making Mr. Robertson’s claims of reliance

objectively impossible—Mr. Robertson further led at his deposition, falsely asserting under oath

ee” Jd. at 108:14-16. Mr. Robertson then perjuriously testified
ond 02th et I +. jusing 1 admit that

he had fabricated the claim about having heard Mr. Cuban speak about Voyager in the Spring of

 
 

2021 before Mr. Robertson opened his Voyager account. /d. at 109:3-24. Following Mr.

Robertson’s insistence that he relied on this supposed video in opening his Voyager account,

DEFENDANTS’ MOTION FOR SANCTIONS UNDER 28 U.S.C, § 1927
PAGE 7
Case 1:22-cv-22538-RKA Document 124 Entered on FLSD Docket 05/15/2023 Page 13 of 29

Defendants’ counsel asked Mr. Robertson to take time during the lunch break to work with

NS x. ,St-phe0 Erich

Dep. Tr. (excerpted) (“Ehrlich Dep. Tr.”) at 310:25-311:7, 312:9-21. Thus, Mr. Robertson has

 

lied on several occasions in this case: he lied in the statements attributed to him in the Complaint

and Amended Complaint; he lied in the sworn statements he made in his signed Declaration; and

he lied repeatedly at his deposition.* Further, Mr. Robertson confirmed that, Pe

D. Defendants’ Counsel Repeatedly Informed Plaintiffs’ Counsel of Their
Clients’ Misstatements.

As it became clear that the Florida Plaintiffs’ filings to this Court were replete with
falsehoods regarding their own trading histories, Defendants, beginning in November 2022,
repeatedly put Plaintiffs’ Counsel on notice about the seriousness of this matter. Plaintiffs’
Counsel, however, ignored or otherwise cavalierly dismissed these warnings:

* On November 22, 2022, Defendants’ counsel sent a letter to Plaintiffs’ Counsel requesting
prompt discovery of the named Plaintiffs because of “serious Rule 11 issues as to the
standing of virtually all of the named plaintiffs to pursue claims against our clients... .”
ECF No. 49-3, Nov. 22, 2022 Letter to Adam Moskowitz at ?.

* On December 1, 2022, Defendants again told Plaintiffs’ Counsel that Defendants” early
examination of Plaintiffs’ claims exposed standing issues. ECF No. 49-1, Dec. 1, 2022
Letter to Adam Moskowitz at 3.

« During a December 20, 2022 discovery hearing before Magistrate Judge Reid, Defendants’
counsel reiterated Defendants’ “serious questions about the plaintiffs, their standing and
causation issues,” as Defendants’ investigation showed “that at least eight of the 12 named
plaintiffs opened their Voyager account” prior to the Press Conference. ECF No. 82-3,
Dec. 20, 2022 Hearing Tr. at 30: 9-16, 35:9-10.

 

* Defendants have previously alerted the Court to Mr. Robertson’s chronic history of prior arrests,
personal bankruptcies, and prior filing of false sworn statements about his financial condition with
other Florida courts. ECF No. 71, at 2-3 n.2; ECF No. 82-4, Jan. 6, 2023 Hearing Tr. at 37:25-
38:7, 63:5-8. Given that Mr. Robertson’s prior history of misconduct and false filings was a matter
of public record, Plaintiffs’ Counsel had a duty to investigate Mr. Robertson’s false statements
before selecting him as the lead Plaintiff in the Complaint and advancing lies by Mr. Robertson in
the Complaint and Amended Complaint.

DEFENDANTS’ MOTION FOR SANCTIONS UNDER 28 U.S.C, § 1927
PAGE &
Case 1:22-cv-22538-RKA Document 124 Entered on FLSD Docket 05/15/2023 Page 14 of 29

* On December 27, 2022, Defendants emailed Plaintiffs’ Counsel stating that “each of your
three Florida-based clients [including Ms. Gold and Mr. Robertson] opened their Voyager
accounts before the announcement of a Voyager sponsorship agreement with the Dallas
Mavericks.” Ex. 7, Dec. 27, 2022 Email from Stephen Best to Adam Moskowitz at 1°

e The next day, Defendants’ counsel again emailed Plaintiffs’ Counsel about these “very
serious Rule 11 concerns about [his] clients’ claims.” Ex. 8, Dec, 28, 2022 Email from
Adam Moskowitz at 1. Defense counsel emphasized, “we want to underscore the
seriousness of our Rule 11 concerns here. We do not believe there ever were any good faith
grounds for this nuisance lawsuit to have been asserted by the Plaintiffs against
[Defendants]... .” Jed. at 3. Plaintiffs’ Counsel replied, “Thanks . . . long email, but you
can bill by the hour.” Jad. at 1.

Once Voyager produced documents reflecting trading activity in the named Plaintiffs
accounts, Defendants had yet further specific proof of the Amended Complaint’s factual
inaccuracies (as to the named Plaintiffs’ trading claims). On December 30, 2022, Defendants
informed Plaintiffs’ Counsel (1) that documents confirmed that Mr. Robertson “opened his account
months before the announced sponsorship agreement” and (2) “[b]y your admission, Rachel Gold
has no standing in that she never opened any account with Voyager, much less relied on any
statements from Mark Cuban on behalf of the Mavericks.” Ex. 9, Dec. 30, 2022 Email to Adam
Moskowitz at | (referring to Mr. Moskowitz’s December 30, 2022 email in which he admits that
Ms. Gold did not open an account in her own name, ECF No, 82-7 at 8). That same day, in a filing
with the Court, Defendants emphasized Mr. Robertson’s false statements concerning his reliance
on Mr. Cuban’s non-existent statements about Voyager prior to the Press Conference in multiple
Court filings. ECF No. 70 at 2, 2-3 n.2.

Defendants’ continued warnings to Plaintiffs’ Counsel were simply rebuffed or ignored.
On January 3, 2023, Defendants told Plaintiffs, “[wJe do not believe a Rule || ground ever existed
for this case, and while you are being permitted to take jurisdictional discovery, we urge you to
consider the Rule 11 implications of pursuing claims against parties who lack any requisite
jurisdictional ties to Florida.” ECF No, 82-11, Jan. 3, 2023 Letter to Adam Moskowitz at 4-5,

On January 6, 2023, the parties appeared before Magistrate Judge Reid for another
discovery hearing. Defendants’ counsel again informed Plaintiffs’ Counsel and the Court that “the

evidence is clear there is no standing for the Florida-based plaintiffs in this case.” ECF No. 82-4,

 

* While Defendants subsequently learned that Sanford Gold apparently opened a Voyager EPA
several months after the Press Conference (assisted by his daughter), Mr. Gold’s claims were
otherwise fabricated and he was dropped as a named plaintiff prior to his deposition. ECF No, 88.

DEFENDANTS’ MOTION FOR SANCTIONS UNDER 28 U.S.C. § 1927
PAGE 9
Case 1:22-cv-22538-RKA Document 124 Entered on FLSD Docket 05/15/2023 Page 15 of 29

Jan. 6, 2023 Hearing Tr. at 13:13-14; see id. at 20:16-17, 24:4-6, 32:16-33:2. Defendants informed
the Court that the evidence confirmed that Ms. Gold did not open her own Voyager account (id. at
4]:24-42:1) and that Mr. Robertson and eight other Plaintiffs falsely claimed to have opened their
accounts in reliance on Mr. Cuban’s non-existent pre-Sponsorship Agreement statements about
Voyager (id. at 36:1-10, 37:4-8). Based on their investigation, Defendants’ counsel prepared a
PowerPoint presentation for the Court, which explained that (1) Plaintiffs inaccurately stated that
they opened Voyager EPAs in reliance on Mr. Cuban's statements about Voyager, (ii) nine of the
twelve original Plaintiffs, including Mr. Robertson, opened their Voyager EPAs before the Press
Conference, making reliance objectively impossible, (111) Mr. Robertson’s statement that he heard
about Voyager from Mr. Cuban in the Summer 2021 was false, and (iv) Ms. Gold never even
opened a Voyager account in her own name. Ex. 10, Jan. 6, 2023 PowerPoint Presentation at 9-
11, 15-16.

In a January 17, 2023 filing, Defendants again informed Plaintiffs and the Court that Ms.
Gold never opened her own Voyager account. ECF No. 82 at 7, Similarly, Defendants stated that
“Defendants’ investigation has indicated that Pierce Robertson opened a Voyager account in May
2021, and document discovery obtained from Voyager has confirmed that Mr. Robertson funded
his Voyager EPA on June 18, 2021, well before the October 27, 2021 Press Conference.” Je.
Plaintiffs replied by rotely and vexatiously insisting that Ms. Gold and all other Plaintiffs,
including Mr. Robertson, had standing to assert all their claims, without providing any legal or
factual basis for those assertions. ECF No. 85 at 1 n.3. In Defendants’ January 31, 2023 Motion
to Transfer Venue to the Northern District of Texas, Defendants noted that Ms. Gold lacks standing
and that Plaintiff Pierce Robertson has filed “a completely fabricated set of claims.” ECF No. 90
at 4; see also ECF No. 92, Wissner-Gross Decl. 9] 17, 19.

On February 22, 2023, Defendants served (but, pursuant to Rule 11(c) did not file) a Rule
11 sanctions motion on Plaintiffs. The unfiled Rule 11 motion, like this Section 1927 Motion,
recited in detail the Florida Plaintiffs’ misstatements and the futility of their claims, putting counsel
on further notice of their sanctionable conduct. More recently, as Plaintiffs note in a recent Court
filing, Plaintiffs’ Counsel sent Defendants’ a draft proposed second amended complaint. ECF No.
121 at 2. Upon reviewing the draft proposed second amended complaint, Defendants again
informed Plaintiffs’ Counsel of Rule 11 issues with the draft and that the draft contained numerous,

new inaccuracies.

DEFENDANTS’ MOTION FOR SANCTIONS UNDER 28 U.S.C. § 1927
PAGE 10)
Case 1:22-cv-22538-RKA Document 124 Entered on FLSD Docket 05/15/2023 Page 16 of 29

E. The Proposed Second Amended Complaint Withdraws Mr. Robertson’s
Claims and Amends Ms. Gold’s Claims, Adding More False Statements.

On May 9, 2023, Plaintiffs filed a motion for leave to amend (ECF No. 121), attaching

 

ee (PSAC § 66), although Defendants believe she moved to

Tennessee shortly after her January 2023 deposition (see n.13, infra). Plaintiffs’ Counsel further

alleges in the PSAC that:

 

id. (emphasis added). Plaintiffs’ Counsel then states ee

Gold states that she:

 

 

 

id. 468 (emphasis added). Ms. Gold’s new allegations simply present a modified but still false

historical narrative, as Plaintiffs’ Counsel has known the truth all along—as Ms. Gold testified

herself, she tried to open a Voyager account ee
EN ©. EX. 4, R. Gold Dep. Tr. at 80:13-25.

 
 

DEFENDANTS’ MOTION FOR SANCTIONS UNDER 28 U.5.C. § 1927
PAGE 11
Case 1:22-cv-22538-RKA Document 124 Entered on FLSD Docket 05/15/2023 Page 17 of 29

LEGAL STANDARD

Defendants seek sanctions under 28 U.S.C. § 1927. Under Section 1927, “[a]ny attorney .
.. who so multiplies the proceedings in any case unreasonably or vexatiously may be required by
the court to satisfy personally the excess costs, expenses, and attorneys’ fees reasonably incurred
because of such conduct.” 28 U.S.C. § 1927. Section 1927 “sets out a three-prong, conjunctive
test: (1) unreasonable and vexatious conduct; (2) such that the proceedings are multiplied; and (3)
a dollar amount of sanctions that bears a financial nexus to the excess proceedings.” Macort v.
Prem, Inc., 208 F. App’x 781, 785-86 (11th Cir. 2006).

An attorney’s conduct is unreasonable and vexatious where the attorney engages in
“objectively reckless conduct” that supports a finding of bad faith. Amlong & Amlong, P.A. v.
Denny's, Inc., 500 F.3d 1230, 1241 (11th Cir. 2007). Under Section 1927, a finding of “bad faith
turns not on the attorney’s subjective intent, but on the attorney’s objective conduct.” Jd. at 1239.
“Thus, objectively reckless conduct is enough to warrant sanctions even if the attorney does not
act knowingly and malevolently,” and “a district court may impose sanctions for egregious conduct
by an attorney even if the attorney acted without the specific purpose or intent to multiply the
proceedings.” Jd. at 1241. Courts in this District have held that an attorney's “repeated instances
of making misrepresentations to [the Court]... demonstrate [the attorney’s] objective and
subjective bad faith,” thus demonstrating unreasonable and vexatious conduct. Goodman v.
Tatton Enters., Inc., 2012 WL 12540024, at *31 (S.D. Fla. June 1, 2012), report and
recommendation adopted, 2012 WL 12540103 (S.D. Fla. Aug. 14, 2012) (emphasis added); see
Maale v. Kirchgessner, 2011 WL 1458258, at *4 (S.D. Fla. Mar. 3, 2011), report and
recommendation adopted, 2011 WL 1458147 (S.D. Fla. Apr. 15, 2011) (party’s “repeated
assertion of a demonstrably false argument constitutes evidence of bad faith” in assessing sanctions
under the court’s inherent authority).

“Unlike Rule 11, which is aimed primarily at pleadings, under section 1927 attorneys are
obligated to avoid dilatory tactics throughout the entire litigation.” Peer v. Lewis, 606 F.3d 1306,
1314 (11th Cir. 2010). Section 1927 sanctions are intended to deter an “attorney's similar activities

in the future.” Goodman, 2012 WL 12540024, at *32.

DEFENDANTS’ MOTION FOR SANCTIONS UNDER 28 U.S.C. § 1927
PAGE 12
Case 1:22-cv-22538-RKA Document 124 Entered on FLSD Docket 05/15/2023 Page 18 of 29

ARGUMENT

I. The Florida Plaintiffs’ Claims Are Objectively Frivolous and Plaintiffs’ Counsel
Made Repeated Misrepresentations to the Court in Support of those Claims.

A, Plaintiffs’ Counsel Submitted Numerous False Statements to the Court in
Support of Ms. Gold’s Objectively Frivolous Claims.

l. Plaintiff Rachel Gold falsely represented that she was a Voyager account
holder.

Section 1927 sanctions against Plaintiffs’ Counsel are warranted, as they submitted
multiple false statements in filings with the Court and continued their frivolous pursuit of Ms.
Gold’s claims long after they knew that she mever was a Voyager account holder.'” Ms. Gold (i)
asserted in the Amended Complaint that she “purchased an unregistered security from Voyager in
the form of an EPA and funded the account with a sufficient amount of crypto assets to earn interest
on her holdings” (ECF No. 34 4 8) (emphasis added) and (ii) made a nearly identical sworn
statement in support of Plaintiffs’ class certification motion (ECF No. 40-2, R. Gold Decl. at 4 3).

Those statements were false, as Ms. Gold testified ht i i _ __
(x. 4. 8. Gold Dep. Tr. at 67:3-5, 69-3-10), which according to Plaintiffs,

constituted the “purchase” of an unregistered security (see ECF No. 34 4] 130 (alleging violations
of Florida securities law, as “Woyager sold and offered to sell the unregistered EPAs to Plaintiffs

and members of the Class”)). And contrary to her sworn statements, Ms. Gold a

ee (Ex. 4, R. Gold Dep. Tr. at 67:3-5), but instead premised
ee  .. « 69:7-10)."

2, Ms. Gold falsely stated that she relied on Mr. Cuban in opening her
husband's account.

 
 

Though Ms. Gold alleges that she relied on “[Messrs.] Cuban and Ehrlich’s

misrepresentations and omissions regarding the Deceptive Voyager Platform,” in executing trades

on Voyager's platform (ECF No. 34 48), she testified at her deposition i Titi’

 

 

'° Defendants believe it is apparent that Plaintiffs’ Counsel knew or should have known, prior to
filing the Complaint, that Ms. Gold did not have a Voyager account in her name, that the account
that was opened was not in her name, and that the funds used to fund such account were not her
personal funds. See Argument § II(A), infra.

'! Ms. Gold’s husband, Eric Rares, is not a named Plaintiff in the case.

DEFENDANTS’ MOTION FOR SANCTIONS UNDER 28 U.S.C, § 1927
PAGE 13
Case 1:22-cv-22538-RKA Document 124 Entered on FLSD Docket 05/15/2023 Page 19 of 29

 

 

(Ex. 4, R. Gold Dep. Tr. at 80:8-12). Ms. Gold stated

 

fa. at 153:17-19. Ms. Gold followed

   

 

 

ee. See Ex. 12, Facebook Chat Between Rachel Gold and ae.

RGOLD CUBAN 00160 at 161-62. On January 7, 2022, Mr. Keuning advised Ms. Gold to
purchase Polkadot (id. at RGOLD CUBAN 00162), and, on January 8, 2022, Mr. Rares
purchased [MG (ex. 13, RGOLD_CUBAN_00148 at 148). On March 19, 2022,
recommended Avalanche (Ex. 12, RGOLD CUBAN 00160 at 161), and, over the
next two weeks, Mr. Rares purchased of Avalanche (Ex. 13, RGOLD CUBAN _ 00148
at 149). Further, Ms. Gold discussed her husband's investments on Voyager with her financial
advisor, i. Ex. 4, R. Gold. Dep. Tr. at 166:16-21; see Ex. 11, Text Messages Between
Rachel Gold and iii. RGOLD CUBAN 00157-5358. At no point during her deposition did

Ms. Gold state that she relied on Mr. Cuban or Mr. Ehrlich in deciding “which cryptocurrencies to

purchase” in her husband’s name, confirming as false her statements regarding reliance on Messrs.
Cuban and Ehrlich.
3. Ms. Gold made numerous misstatements in the PSAC.
While Plaintiffs’ Counsel, seemingly acknowledging the falsity of Ms. Gold’s prior

misstatements, unsuccessfully tries to conceal those inaccuracies by now vaguely claiming that

'" Ms. Gold’s claims remain frivolous, as only purchasers, not
spouses of purchasers, have legal standing to bring unregistered securities claims, PSAC :see
I f purch I legal standing to bring gistered t l PSAC 4] 67
Section I(A)(4), infra. In any event, Ms. Gold testified at her deposition that

ee. Ex. 4, R. Gold. Dep. Tr. at 52:11-15. Under Florida

law, spouses do not automatically have power of attorney over one another, as power of attorney

is only granted to an “attorney in fact” via a writing signed by the principal and two witnesses,

except in certain, inapplicable circumstances. See Fla. Stat. $§ 709.2102, 709.2103, 709.2105(2),

DEFENDANTS’ MOTION FOR SANCTIONS UNDER 28 U.S.C, § 1927
PAGE 14

 
Case 1:22-cv-22538-RKA Document 124 Entered on FLSD Docket 05/15/2023 Page 20 of 29

709.2106(1).

Further, Ms. Gold adds new, knowingly false statements in the PSAC. Though
acknowledging that Mr. Rares, not Ms. Gold, purchased Voyager EPAs, Plaintiffs’ Counsel still
ee PSAC 4 66 (emphasis added). Ms. Gold’s indication
I so fs. 19
EN . See Ex. 13, RGOLD_CUBAN_00148 at

148-30.

 

 

Further, in direct contradiction to Ms. Gold’s deposition testimony, Plaintiffs’ Counsel

loz in the PSC

 

ee. PSAC 9] 66-68. Though Ms. Gold asserts that she ee

 

a (id.), she testified at her deposition i i _ _ _
ee (Ex. 4. R. Gold. Dep. Tr. at 80:8-12). Ms. Gold stated that she
I .¢/. at 153:17-19 (emphasis added).4

A. Ms. Gold's claims are objectively frivolous, as only purchasers may bring
unregistered securities claims.

 
 
 

 

Even if Ms. Gold had sufficiently corrected her prior misstatements in the PSAC, her
claims continue to be legally frivolous, as she did not purchase Voyager EPAs. Plaintiffs’
Counsel’s continued pursuit of Ms. Gold’s legally frivolous claims justifies Section 1927
sanctions. It is well settled that only purchasers of alleged securities, not their spouses, have

standing to bring the claims asserted by Ms. Gold. And while the PSAC tnes to get around this

 

 
 
    

;, Defendants believe that Ms. Gold’s statement in the
. See PSAC § 66, Public records mdicate that Ms.

wusband, Eric Rares, sold their house im Coral Springs on March 20, 2023, and

hotographs in a mid-February 2023 real estate listing of their house reveal a vacant house. See
: realtor.com/realestateandhomes-detail fin
. Public records further reveal that Ms. Gold

purchased a house in Dunlop, Tennessee on February 15, 2023, shortly after her deposition in this
case, and that she and her husband transferred registration of their vehicles from Florida to
Tennessee on February 28, 2023.

13 Additionall

   
  
 
 
 

 

    
 

Gold and her

 

DEFENDANTS’ MOTION FOR SANCTIONS UNDER 28 U.5.C. § 1927
PAGE 15
Case 1:22-cv-22538-RKA Document 124 Entered on FLSD Docket 05/15/2023 Page 21 of 29

that Voyager did not permit joint accounts, and the account documents solely identified the account
as in the name of Eric Rares.’* More importantly, the Florida Securities and Investor Protection
Act expressly limits a seller’s liability, or the liability of a secondary participant who “participated
or aided in the making of the sale,” to persons who “purchasfed] the security.” Fla. Stat. §
517.211(2) (emphasis added). The Supreme Court has long held “that only a purchaser or seller
of a security has standing to bring a private 10b-5 securities fraud action for money damages.”
Applebaum v. Fabian, 2020 WL 6375706, at *6 (D.N.J. Oct. 30, 2020) (emphasis added), aff'd,
2021 WL 1382331 (D.N_J. Apr. 13, 2021) (citing Blae Chip Stamps v. Manor Drug Stores, 421
U.S. 723 (1975)). Under Blve Chip, spouses of purchasers do not have standing to bring Rule 10b-
5 claims. Davidson v. Belcor, Inc., 933 F.2d 603, 608 (7th Cir. 1991) (holding that the ex-wife
who had neither sold nor purchased the shares in question did “not have standing to sue under the
anti-fraud provisions of the federal securities laws”); see also Reid v. Madison, 438 F. Supp. 332,
335 (E.D. Va. 1977) (following Bine Chip and holding that the wife of a stockholder lacked
standing to bring a securities fraud claim under Section 10(b) of the Exchange Act, as she was not
a “purchaser” of the security in question).

Similarly, Florida’s “Section 517.211 states emly that a purchaser or seller of a security
is entitled to relief” Asset Prot. Plans, Inc. v. Oppenheimer & Co., 2011 WL 2533839, at *5
(M.D. Fla. June 27, 2011) (emphasis added) (holding that a “mere ‘holder’ of a security has no
claim” under the Florida Securities and Investor Protection Act); Buehler v. LTT Int'l, Ine., 762 So.
2d 530, 532 (Fla. Dist. Ct. App. 2000) (“Because [defendant who asserted a counterclaim for
violation of the Florida Securities and Investor Protection Act] is not a purchaser of a security from
[plaintiff and counterclaim defendant| . .. [defendant and counterclaim plaintiff] cannot avail itself
of the remedy provided in section 517.211.”).

Because Ms. ool iit (Ex. 4, R. Gold
Dep. Tr. at 67:3-5, 69:3-10; PSAC § 67), she cannot be a “purchaser” as a matter of law and

therefore cannot bring a claim under Florida securities law. Indeed, as per the Amended

 

Voyager's CEO, Ehrlich,

   
   

Ehrlich Dep. Tr. at 347:16-17.

DEFENDANTS’ MOTION FOR SANCTIONS UNDER 28 U.5.C. § 1927
PAGE 16
Case 1:22-cv-22538-RKA Document 124 Entered on FLSD Docket 05/15/2023 Page 22 of 29

Complaint, Ms. Gold is not even a putative class member. See ECF No. 34 4 74(1), (defining the
purported “Nationwide Class” as “[a]ll persons or entities in the United States who, within the
applicable limitations period, purchased or enrolled in an EPA”) (emphasis added); 4] 75(2)
(defining the purported “Florida Subclass” as “[a]ll persons or entities in the state of Florida who,
within the applicable limitations period, purchased or enrolled in an EPA”) (emphasis added); see
Further, while Ms. Gold did not open a Voyager EPA in her own name, she cannot state a
claim under the FDUTPA regardless, since it is well-settled that an alleged sale of unregistered
securities cannot support a claim under FOUTPA. See ECF No. 41 at 24 1.33 (citing cases).

B. Plaintiffs’ Counsel Submitted Numerous False Statements in Support of Mr.
Robertson’s Frivolous Claims.

Plaintiffs’ Counsel repeatedly included Mr. Robertson’s assertions in the Amended
Complaint and in sworn Declarations submitted to the Court that also are contradicted by evidence
obtained in discovery, including at his deposition.

l. Mr, Robertson's false allegations

Mr. Robertson falsely asserted in the Amended Complaint that he “first heard about
Voyager from Mark Cuban” in the Summer 2021, around the time he allegedly downloaded the
Voyager app. ECF No. 34 9 69. The Amended Complaint also alleged that Mr. Robertson
purchased and funded Voyager EPAs “with a sufficient amount of crypto assets to earn interest on
his holdings” and that he did so “after being exposed to some or all of Cuban’s and Ehrlich’s
misrepresentations and omissions regarding the Deceptive Voyager Platform as detailed in this
complaint, and executed trades on the Deceptive Voyager Platform in reliance on those
misrepresentations and omissions.” /d. 4/7. Mr. Robertson made a similar false statement in a
sworn Declaration submitted to the Court in support of Plaintiffs’ class certification motion. ECF

No. 40-1 | 3. During his deposition, Mr. Robertson doubled-down on this lie and, under oath,

Mr. Robertson's statements are objectively false because neither Mr. Cuban nor the
Mavericks publicly discussed Voyager at any time before October 27, 2021, when the Mavericks

announced their Sponsorship Agreement with Voyager. When confronted during his deposition

about this transparent fabrication, Mr. Robertson ee

DEFENDANTS’ MOTION FOR SANCTIONS UNDER 28 U.S.C, § 1927
PAGE 17
Case 1:22-cv-22538-RKA Document 124 Entered on FLSD Docket 05/15/2023 Page 23 of 29

 
 

In a stunning display of circular logic and perjury, Mr. Robertson asserted

 

id. at 109:6-14. Before filing the original Complaint, Plaintiffs’ Counsel had ample opportunity
and a Rule 11 obligation to search Mr. Cuban and the Mavericks’ online statements for evidence
supporting Mr. Robertson’s false claims that Defendants publicly discussed Voyager months
before the announcement of the Sponsorship Agreement. Such evidence does not exist.

2. Mr. Robertson's pre-Sponsorship Agreement transactions cannot possibly
support claims against Defendants.

Logic dictates that, while Defendants dispute that they materially assisted in the sale of any
alleged Voyager-related securities during or after the Press Conference, Defendants objectively
could neither materially assist Voyager’s alleged securities violations nor take part in deceptive
trade practices, as alleged in the Amended Complaint, related to Mr. Robertson’s Voyager
transactions that occurred before Defendants’ first involvement with Voyager.

II. Plaintiffs’ Counsel Recklessly and in Bad Faith Multiplied the Proceedings.

A. Plaintiffs’ Counsel Continued to Pursue Frivolous Claims After Defendants
Repeatedly Alerted Plaintiffs’ Counsel of the Claims’ Factual and Legal
Deficiencies.

First, had Plaintiffs’ Counsel conducted even a minimal factual and legal investigation into
the Florida Plaintiffs’ claims—as required by Rule 11—they would have known pre-suit that their
claims are meritless. Plaintiffs’ Counsel's failure to conduct any such investigation suggests that
their filing of the Florida Plaintiffs’ claims was reckless and in bad faith. Plaintiffs’ Counsel also
recklessly continued to pursue these claims after Defendants repeatedly warned them—-via letters,
emails, Court filings, and during hearings before Magistrate Judge Reid—that these claims were
objectively frivolous, materially increasing Defendants’ defense costs. As set forth mm detail in
Section D of the Factual Background, supra, Defendants warned Plaintiffs’ Counsel at least eleven
times about sanctionable issues with their Amended Complaint, starting no later than on November
22, 2022.

There can be no doubt that, by December 30, 2022 at the latest, Plaintiffs’ Counsel knew

DEFENDANTS’ MOTION FOR SANCTIONS UNDER 28 U.5.C. § 1927
PAGE 18
Case 1:22-cv-22538-RKA Document 124 Entered on FLSD Docket 05/15/2023 Page 24 of 29

of Ms. Gold’s failure to be a Voyager account holder, as, on that day, Plaintiffs’ Counsel admitted
to this defect after being confronted with the inconsistencies between Plaintiffs’ claims and the
documents that Voyager had produced. ECF No. 82-7, Dec. 30, 2022 Email from Adam
Moskowitz at 8 (after Voyager had produced customer account records). Defendants repeatedly
informed Plaintiffs’ Counsel that since they conceded Ms. Gold was not a Voyager account holder,
she lacked standing to bring claims against Defendants. Ex. 9, Dec. 30, 2022 Email to Adam
Moskowitz; ECF No. 82-11, Jan. 3, 2023 Letter to Adam Moskowitz at 4-5: ECF No. 82-4, Jan.
6, 2023 Hearing Tr. at 13:13-14; see id. at 20:16-17, 24:4-6, 32:16-33:2; 41:24-42:1; Ex. 10, Jan.
6, 2023 PowerPoint Presentation at 15-16; ECF No. 82 at 7; ECF No. 90 at 4. Plaintiffs’ Counsel
nevertheless continued to frivolously assert, without authority, to the Court that Ms. Gold had
standing, thus vexatiously multiplying the proceedings and requiring Defendants to needlessly take

her deposition and other discovery. ECF No. 82-4, Jan. 6, 2023 Hearing Tr. at 78:11-13; ECF No.

85 at 1 n.3. Unsurprisingly, Ms. Gold confirmed at her deposition iT
B.C F No. 92-3, R. Gold Dep. Tr, at 67:3-5, 69:3-10,

By no later than January 6, 2023, Defendants’ counsel made clear to Plaintiffs’ Counsel
that Mr. Robertson had falsely claimed that he heard about Voyager from Mr. Cuban in the
Summer 2021 and that Defendants’ investigation confirmed that neither Mr. Cuban nor the
Mavericks ever made any public statements regarding Voyager prior to the October 27, 2021 Press
Conference. See Ex. 10, Jan. 6, 2023 PowerPoint Presentation at 11. At the January 6, 2023
hearing, Defendants’ counsel explained that Mr. Robertson’s statement that he opened his Voyager
account in the summer of 2021 in reliance on statements from Mr. Cuban was a fabrication, as
“Mr. Cuban didn’t announce his involvement or the Mavs involvement with Voyager until October
2021 and Voyager first approached the Mavs in August of 2021.” ECF No. 82-4, Jan. 6, 2023
Hearing Tr. at 36:25-37:3. Plaintiffs’ Counsel has never identified a single fact demonstrating that
Defendants made any public statements regarding Voyager prior to the Press Conference. That is
because none exist—and Defendants have confirmed the same. Accordingly, Plaintiffs’ Counsel
was undoubtedly aware that the Florida Plaintiffs made factually inaccurate statements in Court
filings and were pursuing frivolous legal claims. Plaintiffs’ Counsel’s insistence on their
continued pursuit of Mr. Robertson’s claims vexatiously multiplied the proceedings, unnecessarily
increasing Defendants’ costs and legal fees.

Moreover, Plaintiffs’ Counsel’s recent proposed withdrawal of Mr. Robertson's claims

DEFENDANTS’ MOTION FOR SANCTIONS UNDER 28 U.S.C, § 1927
PAGE 19
Case 1:22-cv-22538-RKA Document 124 Entered on FLSD Docket 05/15/2023 Page 25 of 29

does not obviate the need for sanctions.'* Section 1927 sanctions are still appropriate where, as
here, plaintiff only withdrew meritless claims after months of needless litigation. See Celsius
Holdings, Inc. v. A SHOC Beverage, LLC, 2022 WL 3568042, at *3 (S.D. Fla. July 19, 2022). In
Celsius Holdings, the court awarded Section 1927 sanctions where plaintiff pursued obviously
frivolous claims for approximately four months after defendants filed their motion to dismiss
before voluntarily dismissing its claims one week prior to a hearing at which it would have been
required to justify its false claims. Jd. at *1-*3. Similarly here, counsel's withdrawal of Mr.
Robertson’s claims came too late, as Defendants were needlessly forced to spend time and money
investigating and defending his claims long after the motion to dismiss was filed.

B. Defendants Are Entitled to an Award of Attorneys’ Fees and Costs.

Defendants seek to recover their reasonable fees and costs incurred after it became
objectively clear that continued pursuit of the Florida Plaintiffs’ claims was frivolous. See Celsius
Haldings, 2022 WL 3568042, at *3-*4 (awarding reasonable costs and attorneys’ fees incurred
alter defendants filed their motion to dismiss, after which “[t]he fatal flaws in Plaintiff's case
should have been apparent”). As discussed in Section II(A), supra, the fatal flaws in the Florida
Plaintiffs’ claims should have been apparent prior to the filing of the Complaint. Plaintiffs’
Counsel was notified of the specific fatal flaws of Ms, Gold’s claims no later than December 30,
2022, and the specific fatal flaws of Mr. Robertson's claims no later than January 6, 2023, well
prior to their depositions. At a minimum, Defendants are entitled to recover all attorneys’ fees and
costs incurred after the fatal flaws of the Florida Plaintiffs’ claims became objectively apparent.'°

CONCLUSION
Defendants respectfully request that the Court grant the Section 1927 Motion and award

Defendants reasonable attorneys’ fees and costs.

CERTIFICATE OF GOOD-FAITH CONFERENCE
Pursuant to Local Rule 7.1(a)(3)(4), I hereby certify that counsel for the

movants/Defendants conferred with Plaintiffs’ counsel via telephone conference in a good faith

 

5 As Plaintiffs’ PSAC does not withdraw Ms. Gold’s claims, Plaintiffs’ Counsel continues to
vexatiously increase costs through frivolous pursuit of her claims that counsel knows are meritless.
‘© Defendants are prepared to submit expense and billing statements, as directed by the Court, in
the event the Court grants the Section 1927 Motion.

DEFENDANTS’ MOTION FOR SANCTIONS UNDER 28 U.S.C. § 1927
PAGE 20)
Case 1:22-cv-22538-RKA Document 124 Entered on FLSD Docket 05/15/2023 Page 26 of 29

effort to resolve the issues raised in this Motion and Memorandum of Law for sanctions under 28

U.S.C. § 1927, but have been unable to resolve those issues.

Respectfully submitted this 15th day of May 2023.

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DEFENDANTS’ MOTION FOR SANCTIONS UNDER 28 U.S.C. § 1927
PAGE 21
Case 1:22-cv-22538-RKA Document 124 Entered on FLSD Docket 05/15/2023 Page 27 of 29

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CERTIFICATE OF SERVICE
| HEREBY CERTIFY that on May 15, 2023, the foregoing document was electronically

filed with the Clerk of the Court using CM/ECF. I ALSO CERTIFY that the foregoing document
is being served this day on all counsel of record on the attached Service List in the manner
specified, either via transmission of Notices of Electronic Filing generated by CM/ECF or in some
other authorized manner for those counsel or parties who are not authorized to receive

electronically Notices of Electronic Filing.

DEFENDANTS’ MOTION FOR SANCTIONS UNDER 28 U.S.C. § 1927
PAGE 22
Case 1:22-cv-22538-RKA Document 124 Entered on FLSD Docket 05/15/2023 Page 28 of 29

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DEFENDANTS’ MOTION FOR SANCTIONS UNDER 28 U.S.C. § 1927
PAGE 23
Case 1:22-cv-22538-RKA Document 124 Entered on FLSD Docket 05/15/2023 Page 29 of 29

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DEFENDANTS’ MOTION FOR SANCTIONS UNDER 28 U.S.C. § 1927
PAGE 24
